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                                                                                                   United States Bankruptcy Court
                                                                                                       Southern District of Texas

                                                                                                          ENTERED
                          IN THE UNITED STATES BANKRUPTCY COURT                                          March 19, 2025
                            FOR THE SOUTHERN DISTRICT OF TEXAS                                         Nathan Ochsner, Clerk
                                     HOUSTON DIVISION

IN RE:                                                     §             CASE NO. 25-30155
                                                           §
ALLIANCE FARM AND RANCH, LLC                               §
                                                           §
                                                           §             (CHAPTER 7)
           DEBTOR.                                         §

                               ORDER GRANTING DEBTOR’S MOTION
                                TO CONVERT CASE TO CHAPTER 11

           This matter having been presented to the Court upon the Motion of Alliance Farm and

Ranch, LLC (the “Debtor”), seeking an Order under 11 U.S.C. § 706(a), converting this

bankruptcy case to a case under chapter 11 of the Bankruptcy Code (the “Motion”) 1 and the

Court having considered the Motion and any objection thereto; and for good cause shown,

           IT IS HEREBY ORDERED that:

           1.       The Motion is GRANTED.

           2.       The Debtor’s chapter 7 bankruptcy case is hereby converted to one under chapter

                    11 of the Bankruptcy Code.

DATED:
Signed:  ________________,
        March 19, 2025     2025.


                                                                 _____________________________
                                                        __________________________________________
                                                                 Alfredo R
                                                        UNITED STATES      Pérez
                                                                         BANKRUPTCY       JUDGE
                                                                 United States Bankruptcy Judge




1
    Capitalized terms not defined herein shall have the meanings ascribed to them in the Motion.
